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1
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7                           UNITED STATES DISTRICT COURT
8                           CENTRAL DISTRICT OF CALIFORNIA
9
      VAHE MESSERLIAN, individually                )   Case No. 2:17-cv-08186
10    and on behalf of all others similarly        )
      situated,                                    )   NOTICE OF VOLUNTARY
11
      Plaintiff                                    )   DISMISSAL OF ACTION
12    vs.                                          )   WITHOUT PREJUDICE
13
                                                   )
      MID WILSHIRE CONSULTING,                     )
14
      INC. dba                                     )
15    SOCIALWELLNESSTALKS.COM;                     )
      DOES 1 through 10, inclusive,                )
16
      Defendant(s).                                )
17

18            NOW COMES THE PLAINTIFF by and through their attorneys to
19   respectfully move this Honorable Court to dismiss this matter without prejudice
20   pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i). No Defendant has
21    filed either an answer or a motion for summary judgment at this time, and no
22    Court    order   is    necessary      pursuant          to   the   Fed.   R.   Civ.   P.
23   Respectfully submitted this 11th Day of April, 2018,
24
                                               By: s/Todd M. Friedman, Esq.
25                                               TODD M. FRIEDMAN
26
                                                 Attorney for Plaintiff
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28




                                         Notice of Dismissal - 1
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1                              CERTIFICATE OF SERVICE
2
      Filed electronically on April 11th 2018, with:
3

4     United States District Court CM/ECF system
5
      Notification sent electronically on April 11th 2018, to:
6

7
      To the Honorable Court, all parties and their Counsel of Record

8

9     s/Todd M. Friedman
      Todd M. Friedman
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                                         Notice of Dismissal - 2
